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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 DYNAENERGETICS EUROPE GMBH, §
 and DYNAENERGETICS US, INC., §
                              §
              Plaintiffs,     §
                                                        Civil Action No. 3:21-cv-00192-M
                              §
 v.                           §
                                                            Jury Trial Requested
                              §
 SWM INTERNATIONAL, LLC,      §
                              §
              Defendant.      §


              DEFENDANT’S REPLY IN SUPPORT OF DEFENDANT’S
             MOTION TO STAY PENDING ENTRY OF FINAL JUDGMENT

       Defendant SWM International, LLC (“SWM”) respectfully files this reply in support of

SWM’s Motion to Stay this action pending entry of a final judgment in SWM’s declaratory

judgment action. SWM respectfully requests a virtual hearing to address the issues in this motion.

    I. INTRODUCTION

       Plaintiffs DynaEnergetics Europe GmbH and DynaEnergetics US, Inc. (“Dyna”) conflates

this motion to stay with SWM’s complaint for declaratory judgment in Colorado (the “Colorado

Action”). Dyna essentially demands that SWM prove, without any discovery on the ownership

issue, that SWM will be successful in its declaratory judgment action in order for a stay in this

matter to be justified. That is simply not the law. It is up to this Court’s discretion to grant a stay

and Dyna cannot fabricate additional factors and requirements to be considered. It is well

established that in considering a motion to stay the Court should determine: (1) whether the stay

would unduly prejudice or present a clear tactical disadvantage to the nonmoving party; (2)

whether a stay will simplify the issues in question and trial of the case; (3) whether discovery is

complete and whether a trial date has been set; and (4) whether the stay will reduce the burden of

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litigation on the court and the parties. Murata Mach. USA v. Daifuku Co., Ltd., 830 F. 3d 1357,

1361 (Fed. Cir. 2016).

        Dyna’s response is intended to misdirect this Court from the issue in this motion: whether

there is “good cause” to grant a stay. As illustrated in SWM’s motion for stay, there is good cause

to stay this case pending entry of a final judgment in SWM’s declaratory judgment action.

      II. ARGUMENTS

        A stay is appropriate to preserve this Court’s and the parties’ resources while the pending

declaratory judgment action is resolved in Colorado. A stay would not unduly prejudice Dyna and

it would be burdensome to continue litigating this matter when there is a potentially dispositive

action pending elsewhere.

A.      Dyna fails to articulate how a stay would be unduly prejudicial.

        Dyna argues that it would face a clear tactical disadvantage if a stay were granted, but fails

to articulate how it would be prejudiced by a stay other than stating “it simply cannot afford to

wait.” Dkt. 68 at 8. “Mere delay that inherently results from a stay does not constitute prejudice

sufficient to deny a request for stay.” Transocean Offshore Deepwater Drilling, Inc. v. Seadrill

Ams., Inc., No. H-15-144, 2015 WL 6394436, at *2 (S.D. Tex. Oct. 22, 2015) (citing

Semiconductor Energy Lab. Co. v. Chimei Innolux Corp., No. SACV 12-21, 2012 WL 7170593,

at *3 (C.D. Cal. Dec. 19, 2012) and ImageVision.Net, Inc. v. Internet Payment Exch., Inc., No.

CIV.A. 12-054-GMS, 2012 WL 5599338, at *4 (D. Del. Nov. 15, 2012)).

        1.     Dyna’s arguments against a “stay” are inconsistent and undermine Dyna’s
               argument.

        Dyna argues that a stay would be prejudicial because it could be “years” before the

Colorado Action is resolved. In the next breath, however, Dyna argues that SWM’s allegations in

the Colorado Action are “frivolous” and “baseless.” These arguments are not only inconsistent,


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but actually reinforce the necessity of a stay.

       First, it would be particularly burdensome to continue this litigation while the Colorado

Action is ongoing if it would actually take years to resolve that case. In fact, it is difficult to

imagine anything more burdensome than fully litigating a patent infringement case that might be

moot upon the resolution of a potentially dispositive action pending in another forum.1 Murata,

830 F.3d at 1362. The fact that the pending action may take years only further emphasizes the

resources and expenses that would burden the parties if a stay is not granted and the assignment to

Dyna is found invalid.

       Second, if SWM’s allegations are indeed as “frivolous” and “baseless” as Dyna claims,

then surely Dyna will prevail on a motion to dismiss. If the Colorado Action can be quickly

resolved through an early dispositive motion, a stay would last only a matter of months, and any

prejudice to Dyna would be minimal.

       2.      Dyna will not suffer irreparable harm if a stay is granted.

       Dyna argues that it has established that a stay would be prejudicial because it has and will

continue to suffer irreparable harm. However, as SWM has demonstrated in its response to the

preliminary injunction motion, Dyna has failed to carry its burden of establishing irreparable harm.

Dkt. 57 at 12.     Dyna waited months to file its motion for preliminary injunction and the

ThunderGun, the only product at issue, was phased out of production last week. Dyna’s only

remedy is monetary damages. A delay of monetary damages is insufficient to refuse a stay.




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  Fully litigating the case before this Court is particularly burdensome because SWM and Dyna
are both parties of the Colorado Action. However, the Colorado Action affects all of the
defendants that Dyna has accused of infringement in various jurisdictions across Texas. In fact,
Nexus Perforating LLC has also moved for a stay on the basis of the various PGR petitions as well
as the Colorado Action. DynaEnergetics Europe GmbH v. Nexus Perforating LLC, 4:21-cv-
00280, Dkt. 40 at 1 (S.D. Tex. Sept. 28, 2021).
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B.      SWM is not required to prove that it will win on the merits in order for a stay to be
        appropriate.

        Most of Dyna’s opposition to the motion is devoted to indignant arguments about the

alleged factual and legal shortcomings of SWM’s claims asserted in the Colorado Action. The

issue before this Court in this motion, however, is whether there is “good cause” to grant a stay.

The factors courts consider in determining if there is “good cause” are discussed above. At the

risk of stating the obvious, none of those factors require that the party moving for a stay somehow

prove in advance that it will ultimately win on the merits of its underlying claims. SWM does not

have the burden, for purposes of this motion, of proving that the April 2020 assignment is invalid.

If that were the case, there would never be a reason to grant a stay.

        SWM’s allegations in the Colorado Action sufficiently plead a claim for relief that the

April 2020 assignment is voidable due to fraud and lack of consideration. As to whether SWM is

successful in the declaratory judgement action, that is something to be determined by the court

presiding over those claims after proper discovery and briefing of the issues.

        1.     Even if SWM did have to prove it would win on the merits, Dyna’s assertions
               are demonstrably incorrect.

        Dyna argues that SWM’s ownership claims are frivolous because Dyna necessarily has an

exclusive right to practice the invention claimed in the ’697 patent. Dkt. 68 at 13. However, that

is a clear misstatement of the Engineering Agreement between JDP and Dyna. Section 5.1 and 5.2

of the Engineering Agreement clearly state that DynaEnergetics GmbH shall only have a non-

exclusive license to any invention involving JDP’s “Background Intellectual Property Rights.”

See DA0030.

        Dyna may wish to believe that the invention claimed in the ’697 patent would fall under

one of the other portions of section 5 in the Engineering Agreement, sections 5.3 or 5.4 which do

mention the possibility of an exclusive license. Whether that is the case, however, is an issue the

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parties would need to resolve once the April 2020 assignment is declared invalid. Moreover, even

if the invention claimed in the ’697 patent falls under sections 5.3 or 5.4 of the Engineering

Agreement, rather than 5.1 or 5.2, it is certainly SWM’s position that those other provisions were

not effective to actually transfer an exclusive license to DynaEnergetics GmbH, yet alone

DynaEnergetics U.S., which is not even a party to the Engineering Agreement. Section 5.3 states

that JDP “shall grant” an exclusive license for certain inventions, and 5.4 similarly provides that

JDP “agrees to grant” an exclusive license under certain other circumstances. Such future-looking

language reflects merely a “statement of intended disposition,” rather than a “present automatic

transfer” of rights. Omni Medsci, Inc. v. Apple, Inc., 7 F.4th 1148, 1152 (Fed. Cir. 2021).

Accordingly, whether or to what extent DynaEnergetics GmbH or DynaEnergetics U.S. could

presently be entitled to the execution of an exclusive license in its favor is another question that

would depend on a myriad of underlying factual disputes and legal issues, including relevant

statute(s) of limitations and equitable doctrines such as laches and unclean hands.

       Finally, if it is declared that SWM and Dyna are co-owners of the ’697 Patent, any disputes

between them about their respective rights could only be resolved with a full factual record. See

Antenna Sys, Inc. v. AQYR Techs., Inc., 976 F.3d 1374, 1381 (Fed. Cir. 2020). At that point, it

will be appropriate to determine: (a) whether the subject matter claimed in the ’697 Patent falls

within the category of “Background” IP, such that any license would be non-exclusive; (b) whether

the language of sections 5.3 or 5.4 in the Engineering Agreement were sufficient to affect a present

assignment of rights to Dyna as of April 2012; (c) if so, whether such a promise is still enforceable;

and (d) how does this affect DynaEnergetics U.S.’s standing, as it is not a party to the underlying

agreement.

       It is understandable why Dyna would prefer to bypass all of these issues and pretend that



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it is presently the exclusive licensee under the ’697 patent simply because it says so. This exercise

in wishful thinking, however, ignores not only critically important underlying issues but also the

basic nature of the relief requested by SWM and issues presented by the present motion. Requiring

the parties to litigate their respective rights in the asserted patent while simultaneously litigating

infringement and invalidity issues relating to that same patent would be extremely burdensome

and wasteful – regardless of what Dyna might subjectively believe about its likelihood of

ultimately prevailing in the ownership dispute.

C.      Dyna fails to identify a single case in which a stay was denied when an ownership was
        pending in another forum.

        Dyna tries mightily to distinguish the many cases cited by SWM in its motion, but notably

fails to identify any case in which a patent infringement claim was allowed to proceed while the

ownership of the asserted patent was being challenged in a separate action. In the one case cited

by Dyna (Dkt. 68 at 12) where a stay was not granted while an ownership dispute was pending,

the court simultaneously considered both the motion to dismiss for lack of subject matter

jurisdiction, putting ownership at issue, and the motion to stay. Jefferson St. Holdings Intell. Prop.

LLC v. Tech 21 UK Ltd., No. 5:18-CV-806-DAE, 2019 WL 5795667 (W.D. Tex. June 10, 2019).

The court did not deny the stay because the party could not support its ownership challenge, as

Dyna argues. Rather, the court denied the motion to dismiss on those grounds, which as a result

mooted the motion to stay. Again, Dyna has failed to identify a single case in which an

infringement case was allowed to proceed while an ownership dispute was pending in another

forum. And for good reason – the only alternative to a stay would be both parties and the Court

spending years of effort and vast resources – in the case of the litigants, certainly millions of dollars

– litigating issues that could be completely irrelevant at the end of the day.




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     III. CONCLUSION

       Because SWM’s declaratory judgment action is potentially case-dispositive, there is “good

cause” for granting a stay. Granting a stay would not unduly prejudice Dyna, could simplify issues

at trial, and would conserve costs for the parties and this Court at this relatively early stage of this

case. SWM respectfully requests that this Court grant the stay pending entry of a final judgment

in SWM’s declaratory judgment action.




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Date: October 6, 2021              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on October 6, 2021, a true and correct copy

of the foregoing response was served on all counsel of record who have appeared in this case via

the Court’s CM/ECF system per Local Rule CV-5.1.

                                                    /s/ Elizabeth M. Chiaviello
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